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                 REINSURANCE CORPORATION
               7
               8                         UNITED STATES DISTRICT COURT
               9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              10
              11   CITY OF MANHATTAN BEACH,                  Case No. 2:21-CV-02210-MCS-MAA
              12                Plaintiff,                   STIPULATED
                                                             PROTECTIVE ORDER
              13         vs.
              14   GENERAL REINSURANCE
                   CORPORATION,
              15
                                Defendant.
              16
                                                             [Hon. Mark C. Scarsi]
              17   GENERAL REINSURANCE
                   CORPORATION,                              Trial Date: August 2, 2022
              18
                                Counterclaimant,
              19
                         vs.
              20
                   CITY OF MANHATTAN BEACH,
              21
                                Counterdefendant.
              22
              23
              24 1.     PURPOSES AND LIMITATIONS
              25        Discovery in this action is likely to involve production of confidential,
              26 proprietary, or private information for which special protection from public
              27 disclosure and from use for any purpose other than prosecuting this litigation may
              28 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
534889.1                               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
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               1 enter the following Stipulated Protective Order. The parties acknowledge that this
               2 Stipulated Protective Order does not confer blanket protections on all disclosures or
               3 responses to discovery and that the protection it affords from public disclosure and
               4 use extends only to the limited information or items that are entitled to confidential
               5 treatment under the applicable legal principles. The parties further acknowledge, as
               6 set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
               7 them to file confidential information under seal; Local Rule 79-5 sets forth the
               8 procedures that must be followed and the standards that will be applied when a party
               9 seeks permission from the Courts to file material under seal. Discovery in this
              10 action is likely to involve production of confidential, proprietary, or private
              11 information for which special protection from public disclosure and from use for
              12 any purpose other than prosecuting this litigation may be warranted.
              13 2.      GOOD CAUSE STATEMENT
              14                This Stipulation and proposed Protective Order is submitted by
              15 agreement between the Plaintiff and Counterdefendant, City of Manhattan Beach
              16 (“City”), and the Defendant and Counterclaimant, General Reinsurance Corporation
              17 (“GRC”).
              18         This Stipulation is being entered to facilitate the production, exchange and
              19 discovery of documents and information that the City and GRC agree merit
              20 confidential treatment (hereinafter “CONFIDENTIAL”, as defined below). Among
              21 other applications, this Stipulation will serve as a qualified protective order in
              22 compliance with HIPAA, and specifically, 45 C.F.R § 164.512(e)(v).
              23
              24 3.      DEFINITIONS
              25         3.1.   Action: [This pending federal lawsuit.] [Alternatively, this definition
              26                may include consolidated or related actions.]
              27         3.2.   Challenging Party: A Party or Nonparty that challenges the designation
              28                of information or items under this Stipulated Protective Order.
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               1       3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
               2              how it is generated, stored or maintained) or tangible things that qualify
               3              for protection under Federal Rule of Civil Procedure 26(c), and as
               4              specified above in the Good Cause Statement, including, but not
               5              limited to, the Health Insurance Portability and Accountability Act of
               6              1996 (“HIPAA”), trade secrets, proprietary business information,
               7              competitively sensitive information, or other information the disclosure
               8              of which would, in the good faith judgment of the party designating the
               9              material as confidential, be detrimental to the conduct of that party’s
              10              business or the business of any of that party’s customers or clients.
              11       3.4.   Counsel: Outside Counsel of Record and In-House Counsel (as well as
              12              their support staff).
              13       3.5.   Designating Party: A Party or Nonparty that designates information or
              14              items that it produces in disclosures or in responses to discovery as
              15              “CONFIDENTIAL.”
              16       3.6.   Disclosure or Discovery Material: All items or information, regardless
              17              of the medium or manner in which it is generated, stored, or maintained
              18              (including, among other things, testimony, transcripts, and tangible
              19              things), that is produced or generated in disclosures or responses to
              20              discovery in this matter.
              21       3.7.   Expert: A person with specialized knowledge or experience in a matter
              22              pertinent to the litigation who has been retained by a Party or its
              23              counsel to serve as an expert witness or as a consultant in this Action.
              24       3.8.   In-House Counsel: Attorneys who are employees of a party to this
              25              Action. In-House Counsel does not include Outside Counsel of Record
              26              or any other outside counsel.
              27       3.9.   Nonparty: Any natural person, partnership, corporation, association, or
              28              other legal entity not named as a Party to this action.
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               1       3.10. Outside Counsel of Record: Attorneys who are not employees of a
               2             party this Action but are retained to represent or advise a party to this
               3             Action and have appeared in this Action on behalf of that party or are
               4             affiliated with a law firm which has appeared on behalf of that
               5             party, and includes support staff.
               6       3.11. Party: Any party to this Action, including all of its officers, directors,
               7             employees, consultants, retained experts, In-House Counsel, and
               8             Outside Counsel of Record (and their support staffs).
               9       3.12. Producing Party: A Party or Nonparty that produces Disclosure or
              10             Discovery Material in this Action, including the City, GRC, and any
              11             non-party producing information designated as “CONFIDENTIAL” in
              12             connection with depositions, document productions, subpoenas, or
              13             otherwise, or the party asserting the confidentiality privilege, as the
              14             case may be.
              15       3.13. Professional Vendors: Persons or entities that provide litigation
              16             support services (e.g., photocopying, videotaping, translating,
              17             preparing exhibits or demonstrations, and organizing, storing, or
              18             retrieving data in any form or medium) and their employees and
              19             subcontractors.
              20       3.14. Protected Material: Any Disclosure or Discovery Material that is
              21             designated as “CONFIDENTIAL.”
              22       3.15. Receiving Party:    A Party that receives Disclosure or Discovery
              23             Material from a Producing Party, including the City and GRC receiving
              24             information designated as “CONFIDENTIAL” in connection with
              25             depositions, document productions, subpoenas, or otherwise, or the
              26             party asserting the confidentiality privilege, as the case may be.
              27 4.    SCOPE
              28       The protections conferred by this Stipulated Protective Order cover not only
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               1 Protected Material, but also (1) any information copies or extracted from Protected
               2 Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
               3 and (3) any testimony, conversations, or presentations by Parties or their Counsel
               4 that might reveal Protected Material.
               5         Any use of Protected Material at trial shall be governed by the orders of the
               6 trial judge. This Stipulated Protective Order does not govern the use of Protected
               7 Material at trial. Accordingly, this Stipulation shall not control the use of exhibits
               8 and testimony at trial or documents or information that the Court determines not to
               9 be Confidential, Subject to the foregoing, this Stipulation shall continue to be
              10 binding after the conclusion of this litigation except (a) that there shall be no
              11 restriction on documents that are filed with the Court in accordance with the
              12 Stipulation or used as trial exhibits (unless such filings are exhibits are filed under
              13 seal); and (b) that a party may seek the written permission of the Producing Party or
              14 further order of the Court with respect to dissolution or modification of any of the
              15 Stipulation.
              16 5.      DURATION
              17         Even after final disposition of this litigation, the confidentiality obligations
              18 imposed by this Stipulated Protective Order shall remain in effect until a
              19 Designating Party agrees otherwise in writing or a court order otherwise directs.
              20 Final disposition shall be deemed to be the later of (1) dismissal of all claims and
              21 defenses in this Action, with or without prejudice; and (2) final judgment herein
              22 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
              23 reviews of this Action, including the time limits for filing any motions or
              24 application for extension of time pursuant to applicable law.
              25 6.      DESIGNATING PROTECTED MATERIAL
              26         6.1.   Exercise of Restraint and Care in Designating Material for Protection.
              27                      Each Party or Nonparty that designates information or items for
              28                protection under this Stipulated Protective Order must take care to limit
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               1              any such designation to specific material that qualifies under the
               2              appropriate standards. The Designating Party must designate for
               3              protection only those parts of material, documents, items, or oral or
               4              written communications that qualify so that other portions of the
               5              material, documents, items, or communications for which protection is
               6              not warranted are not swept unjustifiably within the ambit of this
               7              Stipulated Protective Order.
               8                    Mass, indiscriminate, or routinized designations are prohibited.
               9              Designations that are shown to be clearly unjustified or that have been
              10              made for an improper purpose (e.g., to unnecessarily encumber the case
              11              development process or to impose unnecessary expenses and burdens
              12              on other parties) may expose the Designating Party to
              13              sanctions.
              14       6.2.   Manner and Timing of Designations.
              15                    Except as otherwise provided in this Stipulated Protective Order
              16              (see, e.g., Section 6.2(a)), or as otherwise stipulated or ordered,
              17              Disclosure or Discovery material that qualifies for protection under this
              18              Stipulated Protective Order must be clearly so designated before the
              19              material is disclosed or produced.
              20                    Designation in conformity with this Stipulated Protective Order
              21              requires the following:
              22              (a)   For information in documentary form (e.g., paper or electronic
              23                    documents, but excluding transcripts of depositions or other
              24                    pretrial or trial proceedings), that the Producing Party affix at a
              25                    minimum, the legend “CONFIDENTIAL” to each page that
              26                    contains protected material. If only a portion or portions of the
              27                    material on a page qualifies for protection, the Producing Party
              28                    also must clearly identify the protected portion(s) (e.g., by
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               1                   making appropriate markings in the margins).
               2                         A Party or Nonparty that makes original documents
               3                   available for inspection need not designate them for protection
               4                   until after the inspecting Party has indicated which documents it
               5                   would like copied and produced. During the inspection and
               6                   before the designation, all of the material made available for
               7                   inspection shall be deemed “CONFIDENTIAL.” After the
               8                   inspecting Party has identified the documents it wants copied
               9                   and produced, the Producing Party must determine which
              10                   documents, or portions thereof, qualify for protection under this
              11                   Stipulated Protective Order. Then, before producing the
              12                   specified documents, the Producing Party must affix the legend
              13                   “CONFIDENTIAL” to each page that contains Protected
              14                   Material. If only a portion or portions of the material on a page
              15                   qualifies for protection, the Producing Party also must clearly
              16                   identify the protected portions(s) (e.g., by making appropriate
              17                   markings in the margins).
              18             (b)   For testimony given in depositions, that the Designating Party
              19                   identify the Disclosure or Discovery Material on the record,
              20                   before the close of the deposition, all protected testimony.
              21             (c)   For information produced in nondocumentary form, and for any
              22                   other tangible items, that the Producing Party affix in a
              23                   prominent place on the exterior of the container or containers in
              24                   which the information is stored the legend “CONFIDENTIAL.”
              25                   If only a portion or portions of the information warrants
              26                   protection, the Producing Party, to the extent practicable, shall
              27                   identify the protected portion(s).
              28 ///
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               1        6.3.   Inadvertent Failure to Designate.
               2                     If timely corrected, an inadvertent failure to designate qualified
               3               information or items does not, standing alone, waive the Designating
               4               Party’s right to secure protection under this Stipulated Protective Order
               5               for such material. Upon timely correction of a designation, the
               6               Receiving Party must make reasonable efforts to assure that the
               7               material is treated in accordance with the provisions of this Stipulated
               8               Protective Order.
               9        6.4.   No Unintentional Waiver Privilege or Admission
              10                     Nothing in this Stipulation shall be deemed to waive any
              11               privilege recognized by law or shall be deemed an admission as to the
              12               admissibility in evidence of any facts or documents revealed in the
              13               course of disclosure.
              14 7.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
              15        7.1.   Timing of Challenges.
              16                     Any Party or Nonparty may challenge a designation of
              17               confidentiality at any time that is consistent with the Court’s
              18               Scheduling Order.
              19        7.2.   Meet and Confer.
              20                     The Challenging Party shall initiate the dispute resolution
              21               process, which shall comply with Local Rule 37.1 et seq., and with
              22               Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic
              23               Conference for Discovery Disputes”).1
              24        7.3.   Burden of Persuasion.
              25                     The burden of persuasion in any such challenge proceeding shall
              26
              27   1
                    Judge Audero’s Procedures are available at
              28 https://www.cacd.uscourts.gov/honorable -maria-audero.
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               1              be on the Designating Party. Frivolous challenges, and those made for
               2              an improper purpose (e.g., to harass or impose unnecessary expenses
               3              and burdens on other parties) may expose the Challenging Party to
               4              sanctions. Unless the Designating Party has waived or withdrawn the
               5              confidentiality designation, all parties shall continue to afford the
               6              material in question the level of protection to which it is entitled under
               7              the Producing Party’s designation until the Court rules on the
               8              challenge.
               9 8.    ACCESS TO AND USE OF PROTECTED MATERIALS
              10       8.1    Basic Principles.
              11                    A Receiving Party may use Protected Material that is disclosed
              12              or produced by another Party or by a Nonparty in connection with this
              13              Action only for prosecuting, defending, or attempting to settle this
              14              Action. Such Protected Material may be disclosed only to the
              15              categories of persons and under the conditions described in this
              16              Stipulated Protective Order. When the Action reaches a final
              17              disposition, a Receiving Party must comply with the provisions of
              18              Section 14 below.
              19                    Protected Material must be stored and maintained by a
              20              Receiving Party at a location and in a secure manner that ensures that
              21              access is limited to the persons authorized under this Stipulated
              22              Protective Order.
              23                    Any person receiving Confidential Information shall not reveal
              24              or discuss such information to or with any person not entitled to receive
              25              such information under the terms of this Stipulation.
              26       8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
              27                    Unless otherwise ordered by the Court or permitted in writing
              28              by the Designating Party, a Receiving Party may disclose any
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               1              information or item designated “CONFIDENTIAL” only to:
               2              (a)   The Receiving Party’s Outside Counsel of Record, as well as
               3                    employees of said Outside Counsel of Record to whom it is
               4                    reasonably necessary to disclose the information for this Action;
               5              (b)   The Officers, directors, and employees (including In-House
               6                    Counsel) of the Receiving Party to whom disclosure is
               7                    reasonably necessary for this Action;
               8              (c)   Experts of the Receiving Party to whom disclosure is reasonably
               9                    necessary for this Action and who signed the
              10                    “Acknowledgment and Agreement to be Bound” (Exhibit A);
              11              (d)   The Court and its personnel;
              12              (e)   Court reporters and their staff;
              13              (f)   Professional jury or trial consultants, mock jurors, and
              14                    Professional Vendors to whom disclosure is reasonably
              15                    necessary or this Action and who have signed the
              16                    “Acknowledgment and Agreement to be Bound” (Exhibit A);
              17              (g)   The author or recipient of a document containing the
              18                    information or a custodian or other person who otherwise
              19                    possessed or knew the information;
              20              (h)   During their depositions, witnesses, and attorneys for witnesses,
              21                    in the Action to whom disclosure is reasonably necessary
              22                    provided: (i) the deposing party requests that the witness sign
              23                    the “Acknowledgment and Agreement to Be Bound” (Exhibit
              24                    A); and (ii) the witness will not e permitted to keep any
              25                    confidential information unless they sign the “Acknowledgment
              26                    and Agreement to Be Bound,” unless otherwise agreed by the
              27                    Designating Party or ordered by the Court. Pages of transcribed
              28                    deposition testimony or exhibits to depositions that reveal
                                                          10
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               1                      Protected Material may be separately bound by the court
               2                      reporter and may not be disclosed to anyone except as permitted
               3                      under this Stipulated Protective Order; and
               4               (i)    Any mediator or settlement officer, and their supporting
               5                      personnel, mutually agreed upon by any of the parties engaged
               6                      in settlement discussions.
               7 9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
               8         PRODUCED IN OTHER LITIGATION
               9         If a Party is served with a subpoena or court order issued in other litigation
              10 that compels disclosure of any information or items designated in this action as
              11 “CONFIDENTIAL,” that Party must:
              12         (a)   Promptly notify in writing the Designating Party. Such notification
              13               shall include a copy of the subpoena or court order;
              14         (b)   Promptly notify in writing the party who caused the subpoena or order
              15               to issue in the other litigation that some or all of the material covered
              16               by the subpoena or order is subject to this Stipulated Protective Order.
              17               Such notification shall include a copy of this Stipulated Protective
              18               Order; and
              19         (c)   Cooperate with respect to all reasonable procedures sought to be
              20               pursued by the Designating Party whose Protected Material may be
              21               affected.
              22         If the Designating Party timely seeks a protective order, the Party served with
              23 the subpoena or court order shall not produce any information designated in this
              24 action as “CONFIDENTIAL” before a determination by the Court from which the
              25 subpoena or order issued, unless the Party has obtained the Designating Party’s
              26 permission. The Designating Party shall bear the burden and expense of seeking
              27 protection in that court of its confidential material and nothing in these provisions
              28 should be construed as authorizing or encouraging a Receiving Party in this Action
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               1 to disobey a lawful directive from another court.
               2 10.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
               3        PRODUCED IN THIS LITIGATION
               4        10.1 Application.
               5                       The terms of this Stipulated Protective Order are applicable to
               6              information produced by a Nonparty in this Action and designated as
               7              “CONFIDENTIAL.” Such information produced by Nonparties in
               8              connection with this litigation is protected by the remedies and relief
               9              provided by this Stipulated Protective Order. Nothing in these
              10              provisions should be construed as prohibiting a Nonparty from seeking
              11              additional protections.
              12        10.2. Notification.
              13                       In the event that a Party is required, by a valid discovery
              14              request, to produce a Nonparty’s confidential information in its
              15              possession, and the Party is subject to an agreement with the Nonparty
              16              not to produce the Nonparty’s confidential information, then the Party
              17              shall:
              18              (a)      Promptly notify in writing the Requesting Party and the
              19                       Nonparty that some or all of the information requested is subject
              20                       to a confidentiality agreement with a Nonparty;
              21              (b)      Promptly provide the Nonparty with a copy of the Stipulated
              22                       Protective Order in this Action, the relevant discovery
              23                       requests(s), and a reasonably specific description of the
              24                       information requested; and
              25              (c)      Make the information requested available for inspection by the
              26                       Nonparty, if requested.
              27        10.3. Conditions of Production.
              28                       If the Nonparty fails to seek a protective order from this Court
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534889.1                                   STIPULATED [PROPOSED] PROTECTIVE ORDER
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               1               within fourteen (14) days after receiving the notice and accompanying
               2               information, the Receiving Party may produce the Nonparty’s
               3               confidential information responsive to the discovery request. If the
               4               Nonparty timely seeks a protective order, the Receiving Party shall not
               5               produce any information in its possession or control that is subject to
               6               the confidentiality agreement with the Nonparty before a
               7               determination by the Court. Absent a court order to the contrary, the
               8               Nonparty shall bear the burden and expense of seeking protection in
               9               this Court of its Protected Material.
              10 11.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
              11         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
              12 Protected Material to any person or in any circumstance not authorized under this
              13 Stipulated Protective Order, the Receiving Party immediately must (1) notify in
              14 writing the Designating Party of the unauthorized disclosures, (2) use its best
              15 efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
              16 person or persons to whom unauthorized disclosures were made of all the terms of
              17 this Stipulated Protective Order, and (4) request each person or persons to execute
              18 the “Acknowledgment and Agreement to be Bound” (Exhibit A).
              19 12.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
              20         PROTECTED MATERIAL
              21         When a Producing Party gives notice to Receiving Parties that certain
              22 inadvertently produced material is subject to a claim of privilege or other protection,
              23 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
              24 Procedure 26(b)(5)(B). This provision is not intended to modify whatever
              25 procedure may be established in an e-discovery order that provides for production
              26 without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
              27 (e), insofar as the parties reach an agreement on the effect of disclosure of a
              28 communication or information covered by the attorney-client privilege or work
                                                        13
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               1 product protection, the parties may incorporate their agreement in the Stipulated
               2 Protective Order submitted to the Court.
               3 13.    MISCELLANEOUS
               4        13.1. Right to Further Relief.
               5                      Nothing in this Stipulated Protective Order abridges the right of
               6               any person to seek its modification by the Court in the future.
               7        13.2. Right to Assert Other Objections.
               8                      By stipulating to the entry of this Stipulated Protective Ordre, no
               9               Party waives any right it otherwise would have to object to disclosing
              10               or producing any information or item on any ground not addressed in
              11               this Stipulated Protective Order. Similarly, no Party waives any right
              12               to object on any ground to use in evidence of any of the material
              13               covered by this Stipulated Protective Order.
              14        13.3. Filing Protected Material.
              15                      A Party that seeks to file under seal any Protected Material must
              16               comply with Local Rule 79-5. Protected Material may only be filed
              17               under seal pursuant to a court order authorizing the sealing of the
              18               specific Protected Material at issue. If a Party’s request to file
              19               Protected Material under seal is denied by the Court, then the
              20               Receiving Party may file the information in the public record unless
              21               otherwise instructed by the Court
              22 14.    FINAL DISPOSITION
              23        After the final disposition of this Action, within sixty (60) days of a written
              24 request by the Designating Party, each Receiving Party must return all Protected
              25 Material to the Producing Party or destroy such material. As used in this
              26 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
              27 summaries, excerpts, and any other format reproducing or capturing any of the
              28 Protected Material. Whether the Protected Material is returned or destroyed, the
                                                         14
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               1 Receiving Party must submit a written certification to the Producing Party (and, if
               2 not the same person or entity, to the Designating Party) by the 60-day deadline that
               3 (1) identifies (by category, where appropriate) all the Protected Material that was
               4 returned or destroyed and (2) affirms that the Receiving Party has not retained any
               5 copies, abstracts, compilations, summaries, excerpts or any other format
               6 reproducing or capturing any of the Protected Material. Notwithstanding this
               7 provision, Counsel is entitled to retain an archival copy of all pleadings; motion
               8 papers; trial, deposition, and hearing transcripts; legal memoranda; correspondence;
               9 deposition and trial exhibits; expert reports; attorney work product; and consultant
              10 and expert work product, even if such materials contain Protected Material. Any
              11 such archival copies that contain or constitute Protected Material remain subject to
              12 this Stipulated Protective Order as set forth in Section 5.
              13 15.     VIOLATION
              14         Any violation of this Stipulated Order may be punished by any and all
              15 appropriate measures including, without limitation, contempt proceedings and/or
              16 money sanctions.
              17
              18 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
              19
              20 DATED: October 19, 2021               LUCAS & HAVERKAMP
              21                                          Albert E. Haverkamp

              22
                                                       By:         /s/ Albert E. Haverkamp
              23
                                                             ALBERT E. HAVERKAMP
              24                                             Attorneys for CITY OF MANHATTAN
              25                                             BEACH

              26
              27
              28
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534889.1                                  STIPULATED [PROPOSED] PROTECTIVE ORDER
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               1 DATED: October 19, 2021           BARBANEL & TREUER, P.C.
               2                                      ALAN H. BARBANEL
                                                      ILYA A. KOSTEN
               3
               4
                                                   By:         /s/ Alan H. Barbanel
               5                                         ALAN H. BARBANEL
               6                                         Attorneys for GENERAL REINSURANCE
                                                         CORPORATION
               7
               8 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
               9
              10 Dated: 11/03/2021                            _______________________________
              11                                              Maria A. Audero
                                                              United States Magistrate Judge
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534889.1                               STIPULATED [PROPOSED] PROTECTIVE ORDER
           Case 2:21-cv-02210-MCS-MAA Document 25 Filed 11/03/21 Page 17 of 19 Page ID #:303




               1                                  EXHIBIT A
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534889.1                               STIPULATED [PROPOSED] PROTECTIVE ORDER
           Case 2:21-cv-02210-MCS-MAA Document 25 Filed 11/03/21 Page 18 of 19 Page ID #:304




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                                        UNITED STATES DISTRICT COURT
               8
                          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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              10
                   CITY OF MANHATTAN BEACH,              Case No. 2:21-CV-02210-MCS-MAA
              11
                               Plaintiff,                ACKNOWLEDGMENT AND
              12                                         AGREEMENT TO BE BOUND
                         vs.
              13
                   GENERAL REINSURANCE
              14   CORPORATION,
              15               Defendant.
              16                                         [Hon. Mark C. Scarsi]
                   GENERAL REINSURANCE
              17   CORPORATION,                          Trial Date: August 2, 2022
              18               Counterclaimant,
              19         vs.
              20   CITY OF MANHATTAN BEACH,
              21               Counterdefendant.
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534889.1                              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
           Case 2:21-cv-02210-MCS-MAA Document 25 Filed 11/03/21 Page 19 of 19 Page ID #:305




               1         [Full name], of [address], declare under penalty of perjury that I have read in
               2 its entirety and understand the Stipulated Protective Order that was issued by the
               3 United States District Court for the Central District of California on [date] in the
               4 case of City of Manhattan Beach vs. General Reinsurance Corp., Case No. 2:21-
               5 CV-02210-MCS-MAA, United States District Court for the Central District of
               6 California. I agree to comply with and to be bound by all the terms of this stipulated
               7 Protective Order, and I understand and acknowledge that failure to so comply could
               8 expose me to sanctions and punishment in the nature of contempt. I solemnly
               9 promise that I will not disclose in any manner any information or item that is subject
              10 to this Stipulated Protective Order to any person or entity except in strict compliance
              11 with the provisions of this Stipulated Protective Order.
              12         I further agree to submit to the jurisdiction of the United States District Court
              13 for the Central District of California for the purpose of enforcing the terms of this
              14 Stipulated Protective Order, even if such enforcement proceedings occur after
              15 termination of this action. I hereby appoint [full name] of [address and telephone
              16 number] as my California agent for service of process in connection with this action
              17 or any proceedings related to enforcement of this Stipulated Protective Order.
              18
              19 Signature:    _______________________________________________________
              20 Printed Name: _____________________________________________________
              21 Date: ____________________________________________________________
              22 City and State Where Sworn and Signed:           _____________________________
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534889.1                               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
